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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


 TIMOTHY G. MARTIN,                           :
      Plaintiff,                              :                  CIVIL ACTION NO.
                                              :                  3:16-CV-00933 (JCH)
        v.                                    :
                                              :
 TOWN OF SIMSBURY, ET AL.                     :                  MAY 2, 2017
     Defendants,                              :
                                              :


             RULING RE: DEFENDANTS’ MOTION TO DISMISS (DOC. NO. 25)

I.     INTRODUCTION

       The plaintiff, Timothy Martin, brings this action against the defendants, the Town

of Simsbury, Hiram Peck, Howard Beach, Michael Glidden, Margery C.B. Winters,

Darren Cunningham, Jason Levy, Craig MacCormac, Jim Morrison, Donna Beinstein,

and Donald Reiger (“defendants”), alleging federal constitutional claims of a regulatory

taking and violations of substantive and procedural due process and equal protection

under sections 1983, 1985, and 1988 of title 42 of the United States Code, as well as

state law claims of intentional infliction of emotion distress, negligence, negligent

infliction of emotional distress, and inverse condemnation. Am. Compl. This action

arises from Martin’s interactions with the Simsbury Zoning Board regarding his desire to

build a single-family home on a parcel of land.

       The defendants bring this Motion to Dismiss (Doc. No. 25) under Rules 12(b)(1),

12(b)(5), and 12(b)(6) of the Federal Rules of Civil Procedure for lack of subject matter

jurisdiction over the Amended Complaint, insufficient service of process as to defendant

Beach, and failure to state a claim upon which relief can be granted. Def.’s Mem. of

Law in Support of Mot. to Dismiss (“Def.’s Mem.”) at 1 (Doc. No. 25-1). They argue,

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inter alia, that Martin’s claim is not yet ripe for review because he has failed to obtain a

final decision from the relevant zoning authority. Id. at 1-2.

       Because the court concludes that it has no subject matter jurisdiction over

Martin’s claims because he has not sought and received a final decision from the

relevant authorities, the Motion to Dismiss is GRANTED.

II.    FACTUAL ALLEGATIONS

       When considering a motion to dismiss due to lack of subject matter jurisdiction

under Rule 12(b)(1), the court “must accept as true all material factual allegations in the

complaint, but [the Court is] not to draw inferences from the complaint favorable” to the

party asserting jurisdiction. J.S. ex rel. N.S. v. Attica Cent. Schs., 386 F.3d 107, 110

(2d Cir. 2004).

       The following facts are alleged in the Amended Complaint and, as such, the court

accepts them as true for the purposes of deciding the Motion to Dismiss. Id. Martin

owns a parcel of land (“the Property”) in Simsbury, Connecticut, which was designated

by the Simsbury Assessor’s Map D03, Block 208, Lot 003A. Am. Compl. (Doc. No. 12)

at ¶ 2. The lot was created under the “Free/First Cut” section of the Simsbury Zoning

Regulations. Id. at ¶ 4. Former Simsbury Compliance Officer and defendant, Howard

Beach (“Beach”) helped design the map for the land split, and subsequently approved

and signed the map before it was filed in the Town Clerk’s office as Town of Simsbury

map #3976 (“map”). Id. The Property was then appraised by the Town Assessor at a

value of $118,000, and subsequently taxed at approximately $3,200 per year. Id. at ¶ 7.

       On some unspecified date, Martin applied to the Farmington Valley Health

District (“FVHD”) for a septic permit on the Property. Id. at ¶ 10. The FVHD and the

defendants then demanded that Martin “unnecessarily” redesign the proposed system
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several times, which he did. Id. at ¶ 11. The FVHD and the defendants still rejected his

septic permit application because they claimed that his soil test results were erroneous.

Id. The FVHD and the defendants rejected Martin’s offer to retest the soil on the

condition that the FVHD would issue the septic permit if the second test had a

consistent result. Id. at ¶ 12. Martin appealed to the State of Connecticut Health

Department, with the result that Martin retested the soil in the presence of an indifferent

sanitarian, the Town of Simsbury attorney, and the engineer who did the original tests.

Id. at ¶ 13. The test results were consistent with his original tests, and the septic permit

was issued. Id. Martin alleges that no other applicant was ever forced to go to such

lengths or expense to verify the accuracy of soil tests performed by licensed engineers.

Id.

       Next, Martin alleges that the Town and Beach informed Martin by letter on

January 30, 2015, that, although the official approved inland wetlands map for the Town

of Simsbury did not place the Property on wetlands, they would not issue a building

permit until Martin had conducted a full wetlands investigation of the Property. Id. at ¶

14. Martin alleges that there are no inland wetlands on or near the Property according

to the official inland wetlands map. Id. at ¶ 16. The Town of Simsbury, Michael Glidden

(“Glidden”), the Zoning Enforcement Officer, Hiram Peck, the Town Planner, and Beach

were aware of an unofficial and unapproved map of the wetlands for years, but Martin

alleges that he was the only person that they ever imposed it on. Id. at ¶¶ 5, 7, 18, 20.

Martin spent several months pleading with them that it was unfair and unconstitutional

to make him test for wetlands when no one else in the area had to do so. Id. at ¶ 19.




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       Beach retired, and his successor, Glidden, also required Martin to conduct a full

wetlands investigation of the Property. Id. at ¶ 20. Martin alleges that at least dozens, if

not hundreds, of lots in the town were developed with the approval of Beach, Glidden,

and Peck as their supervisor, and despite their location on the unofficial wetland map.

Id. at ¶ 21. These other individuals were not required to do a wetlands investigation

because their property was not located on the official inland wetlands map. Id.

       Instead of performing a wetlands investigation, Martin chose to apply for a

building permit. Id. at ¶ 22. Glidden responded to the application March 4, 2015,

insisting that Martin do the wetlands testing before a building permit could issue, but

also informing Martin that the Property was not, in fact, a building lot. Id. Glidden

determined that the Property had never been approved as a building lot because it

lacked the required 200 feet of street frontage. Id. at ¶ 36. Glidden’s letter also

threatened criminal action against Martin for advertising to sell the Property because it

was an unapproved lot. Id. Martin filed an appeal of Glidden’s rejection, first with the

Inland Wetlands Agency for the Town of Simsbury, and then with the Connecticut State

Superior Court, but both denied the appeal. Id. at ¶ 24-25. The Superior Court

dismissed Martin’s case because he had not exhausted all available administrative

remedies. Id. at ¶ 25; see, also, Martin v. Town of Simsbury, No. CV 155039449, 2016

WL 673417 (Conn. Super. Ct. Jan. 26, 2016) (holding that Martin did not take

advantage of the process to determine whether or not his activity was regulated such

that he required a wetland permit and so he had not exhausted his administrative

remedies).




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      On April 11, 2016, Martin requested that the Town of Simsbury Conservation

Commission (“the Commission”) give him a definitive answer as to whether his

application would be considered under the unofficial inland wetlands map. Id. at ¶ 32.

Martin alleges that the Conservation Commission, and defendants Winters,

Cunningham, Levy, MacCormac, Morrison, Beinstein, and Reiger voted to evaluate the

Property under the unofficial inlands wetland map, and admitted that the

official/approved map was erroneous and they were acting contrary to law. Id. at ¶ 33.

Martin was unaware of any appeal process from this decision, and letters to the Town of

Simsbury Attorney and the Conservation Committee received no response. Id. at ¶ 35.

Importantly, the Amended Complaint does not allege that Martin requested that the

Commission determine whether or not his activity would have a significant impact such

that he need not apply for a permit, or what the consequence of evaluating the Property

using the unofficial map were. See Town of Simsbury Inland Wetlands Regulations,

Section 7.1, 7.4.1 (2013) (describing the wetlands permit application process).

      Finally, Martin filed an appeal of Glidden’s decision that the lot was not a legal

building lot with the Town of Simsbury Zoning Board of Appeals (“ZBA”). Id. at ¶ 39.

The ZBA affirmed Glidden’s decision. Id. at ¶ 44. The defendants suggested that

Martin merge the Property with a neighboring property, or apply for a rear lot

subdivision, which might allow him to develop the Property. Id. at 45.

      Martin then applied to the ZBA for a variance of the required road frontage for the

Property, but this too was rejected. Id. at ¶ 47. Based upon the foregoing, Martin

alleges that there has been an unconstitutional taking of his property, and he has

served the Town of Simsbury with a demand for compensation. Id. at ¶ 48.



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III.   LEGAL STANDARD

       Under Rule 12(b)(1) of the Federal Rules of Civil Procedure, the court must

dismiss a complaint for lack of subject matter jurisdiction when the court lacks

constitutional authority to adjudicate the suit. Makarova v. United States, 201 F.3d 110,

113 (2d Cir.2000). In reviewing a motion to dismiss under Rule 12(b)(1), the court must

accept as true all material factual allegations in the complaint, and draw all inferences in

the plaintiff’s favor. Id. The court may rely on evidence outside of the complaint in

determining whether it has jurisdiction. Cortlandt Street Recovery Corp. v. Hellas

Telecommunications, S.á.r.l., 790 F.3d 411, 417 (2d Cir. 2015). In considering a Rule

12(b)(1) motion, the plaintiff bears the burden of proving subject matter jurisdiction by a

preponderance of the evidence. Aurecchione v. Schoolman Transp. Sys., Inc., 426

F.3d 635, 638 (2d Cir. 2005).

IV.    DISCUSSION

       A.     Ripeness

       Before the court can consider the merits of the plaintiff’s complaint, the court

must ensure that the controversy is ripe. See Nutritional Health All. v. Shalala, 144 F.3d

220, 225 (2d Cir. 1998) (“Ripeness is a constitutional prerequisite to exercise of

jurisdiction by federal courts.”). To fulfill this constitutional requirement, the controversy

must have crystallized such that the claims do not depend upon “contingent future

events that may not occur as anticipated, or indeed may not occur at all.” Nat’l Org. for

Marriage, Inc. v. Walsh, 714 F.3d 682, 687 (2013) (citing Thomas v. Union Carbide

Agric. Prods. Co., 473 U.S. 568, 580-81 (1985)). “The Ripeness doctrine is drawn both

from Article III limitations on judicial power and from prudential reasons for refusing to



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exercise jurisdiction.” Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803

(2003) (internal quotation marks omitted).

       In the takings context, the court considers whether a claim is ripe through a two-

pronged test announced in Williamson County Regional Planning Commission v.

Hamilton Bank, 473 U.S. 172 (1985). The first prong requires that the government entity

charged with implementing the regulations has made a “final decision regarding the

application of the regulations to the property at issue.” Id. at 186. The second prong

requires the plaintiff to have sought and failed to receive just compensation through an

adequate process provided by law. Id. at 194.

       The first prong of Williamson County captures the Constitutional requirement that

there be injury in fact. See Horne v. Dep’t of Agriculture, 133 S. Ct. 2053, 2061-62

(2013) (holding that the final agency decision imposing fines was a “sufficient ‘injury’ for

federal jurisdiction). The Second Circuit, however, has clarified that the final decision

requirement is a prudential rule, not a jurisdictional one, thereby allowing a court to

determine that Williamson’s final decision requirement be waived because the zoning

authority had otherwise inflicted constitutional injuries sufficient for the plaintiff to assert

standing. See Sherman v. Town of Chester, 752 F.3d 554 (2d Cir. 2014) (allowing a

takings claim to proceed on a theory that seeking a final decision would be futile when

over a decade of consistent procedural changes had already allowed the town to avoid

making a final decision). The proper inquiry is whether the court can accurately

determine how far the regulation goes—i.e., what behavior does it deny and what

behavior does it permit—such that the court can determine whether or not a taking has

occurred. This can be shown either through the agency’s final determination, or through



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a set of facts that demonstrate that the glimmer of hope that the agency has left is not

truly achievable such that the court may view the agency as having made a final

decision in all but fact. See id.

       Similarly, the second prong—that the Government not only take property, but

also deny just compensation—has been described as prudential ripeness, and as such

“is not, strictly speaking, jurisdictional. See Horne, 133 S. Ct, at 2062, 2062 n.6 (“A

‘Case’ or ‘Controversy’ exists once the government has taken private property without

paying for it. Accordingly, whether an alternative remedy exists does not affect the

jurisdiction of the federal court.”); see also Stop the Beach Renourishment, Inc. v.

Florida Dept. of Environ. Prot., 560 U.S. 702, 729 (2010) (deeming that the plaintiff

waived the argument that they had not received just compensation because that

argument was not jurisdictional). Still, the Fifth Amendment only prohibits the taking of

private property for public use “without just compensation,” and so the court cannot

determine whether a taking violated the Fifth Amendment without some evidence that

the plaintiff was denied just compensation. U.S. Const. amend. V; see Macdonald,

Sommer & Frates v. Yolo Cty., 477 U.S. 340, 360 (1986) (“For similar reasons, a court

cannot determine whether a municipality has failed to provide ‘just compensation’ until it

knows what, if any, compensation the responsible administrative body intends to

provide.”).

       This prudential ripeness assessment of Williamson County has been extended to

apply to other claims that stem from alleged takings. “[A] substantive due process claim

premised on the theory that a regulation has gone too far is subject to both prongs of

the Williamson ripeness test.” Southview Associates, Ltd. V. Bongartz, 980 F.2d 84, 96



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(1992). Similarly, “the ripeness requirement of Williamson, although announced in a

takings context, has been extended to equal protection and due process claims

asserted in the context of land use challenges.” Dougherty v. Town of North

Hempstead Bd. of Zoning Appeals, 282 F.3d 83, 89 (2d Cir. 2002). Substantive due

process claims of arbitrary and capricious conduct only require satisfaction of the first

prong of Williamson, namely that there be a showing of finality. Kurtz v. Verizon New

York, Inc., 758 F.3d 506, 514 (2014).

       Thus, before the court can consider the merits of Martin’s constitutional claims,

the court must first determine that both prongs of Williamson County have been met as

to his equal protection claims and his due process claim that a regulation has gone too

far, and that the final decision prong has been met as to his arbitrary and capricious

conduct claims. If the court determines that the prongs of Williamson County have not

been met, the court should then determine whether or not the plaintiff has shown that

despite failing to meet requirements of Williamson County, the matter is still properly

before the court. See Sherman, 752 F.3d at 563 (allowing a claim to proceed despite

the lack of a final decision because the court found that the government’s actions had

been “so unreasonable, duplicative, or unjust as to make the conduct farcical,” and

therefore further pursuit a final decision would be futile.).

              1.      There has been no final decision by the Zoning Board

       The first prong of the Williamson County test requires the plaintiff to demonstrate

by a preponderance of the evidence that the relevant agency has made a final decision

on how the plaintiff can develop his or her property. See 473 U.S. at 190-91. The

Supreme Court has recognized that the inquiry of what precisely constitutes a “taking”

for the purposes of the Fifth Amendment is a difficult one, and one that cannot be
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accomplished when the precise contours of the regulatory decision are yet unknown

because the government has not issued a final decision. Id. at 191. In Williamson

County, the plaintiff had been denied approval of a building permit, but had not sought a

variance, and so the court could “not conclusively determine whether respondent will be

denied all reasonable beneficial use.” Id. at 194. Absent such a final decision, further

review by the court was deemed premature.

       Later opinions have clarified that the final decision prong of the Williamson

County test is a factual determination which must take into account all relevant statutes,

ordinances, and regulations, in order to determine whether or not there has been a final

determination of how the property owner can use his property. Murphy v. New Milford

Zoning Comm’n, 402 F.3d 342, 350 (2d Cir. 2005). The question before the court is

“whether the initial decisionmaker has arrived at a definite position on the issue that

inflicts an actual, concrete injury.” Williamson County, 473 U.S. at 193.

       The Second Circuit has explained that the “final decision” prong serves four

goals: (1) a final decision from the land use authority provides the court with a complete

record to review; (2) the court can only know the precise way that a regulation will be

applied to a parcel after the owner of that parcel has pursued all of the remedies

available to him; (3) an appeal may provide the property owner with relief without

entangling the district court in a constitutional dispute; and (4) federalism concerns

counsel allowing local matters to be handled locally before involving federal courts.

Murphy, 402 F.3d at 348.

       Applying these principles to the matter at hand, it is clear to the court that Martin

has not received a final determination from the zoning authority on how he may use the



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Property. The Amended Complaint first discusses the decision of the Commission

regarding the inland wetlands regulations. See Am. Compl. at ¶¶ 9-35. However,

Martin does not allege what the consequences of the determination of the Commission

were, and the Complaint moves on to describe only the consequences of the denial of

his variance. Id. at ¶ 36. Martin does allege that he appealed the decision of the

Commission to the State of Connecticut Superior Court, but that court ruled that Martin

had not exhausted all of his administrative remedies, specifically because he did not

apply to the Commission for a permit to allow him to pursue his desired development.

Id. at ¶ 25; Martin v. Town of Simsbury, No. CV 155039449, 2016 WL 673417 (Conn.

Super. Ct. Jan. 26, 2016). Martin has not alleged that he applied to the Commission for

a finding that his activity would not be a regulated activity; rather, he states that because

he is under the belief his activity is not regulated, he does not need to apply to the

Commission. Id. at ¶ 26. Martin’s own legal conclusion, without any interpretation from

the governing administrative body, cannot satisfy the final decision requirement of

Williamson County. See Conyer v. Rossides, 558 F.3d 137, 143 (2d Cir. 2009) (“on a

motion to dismiss, courts are not bound to accept as true a legal conclusion couched as

a factual allegation.”) (internal citations omitted).

       Indeed, Martin does not allege that he did more than ask the Commission

whether or not it would hold him to an unofficial map or the official map. Id. at 32-35.

Although the Amended Complaint alleges that the Property has—erroneously,

according to Martin—been determined to be on wetlands, the Amended Complaint does

not allege that the Commission considered what Martin could or could not do on the

wetlands. Martin does not allege that he ever applied for an inland wetland permit, and



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the court cannot rely on his legal conclusion that he was not asking to conduct regulated

activity. Am. Compl. at ¶ 26; see Town of Simsbury Inland Wetlands Regulations,

Section 2.1 (2013) (defining regulated activity as any activity “involving, but not limited

to the removal or deposition of material, or any obstruction, alteration or pollution of

such Regulated Area and any earth moving, filling, construction . . . with the Regulated

Area . . . .”). The Amended Complaint alleges no facts that would allow this court to

determine that the disposition of the Property has changed since the Connecticut

Superior Court reviewed the matter and determined that Martin had not exhausted his

administrative remedies because he had not applied to the Commission for a permit.

Martin v. Simsbury, No. HHDCV155039449, 2016 WL 673417 at * 2 (Conn. Super. Ct.

Jan. 26, 2016). Because Martin has not alleged that he requested a final decision from

the Commission regarding what would be permitted on the Property, the court cannot

determine whether or not a taking has taken place.

       The Amended Complaint next describes how Martin applied for a building permit

on the Property, which was ultimately denied because the land was not a building lot.

Am. Compl. at ¶ 22. The primary issue was that the Property only has 50 feet of the

required 200 feet of street frontage. Id. at 36. Martin attempted to solve this issue by

applying for a variance of the 200 foot requirement, but this application was ultimately

denied. Id. at 47.

       Defendants supplement the information provided in the Complaint with an

affidavit from Glidden, the Assistant Town Planner for the Town of Simsbury. Aff. of

Michael Glidden (Doc. No. 25-2). Glidden describes the comments he made to the ZBA

in connection with Martin’s application for a variance. Id. at ¶ 6. Specifically, Glidden



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informed the ZBA that Martin had been informed that, although his building did not

conform to the requirements for a building permit, it might conform to the requirements

for a rear lot. Id. at Ex. C. Glidden explained that development under the rear lot

regulations does not require the frontage otherwise required, but that Martin would need

to apply for a special exception from the Simsbury Planning and Zoning Commission in

order to proceed under those regulations. Id. at ¶ 7. The court is entitled to consider

this evidence, even though it comes from beyond the four corners of the Amended

Complaint, in connection with determining whether it has jurisdiction to hear the merits

of Martin’s Amended Complaint. See Cortlandt Street Recovery Corp. v. Hellas

Telecomms, S.á.r.l., 790 F.3d 411, 417 (2d Cir. 2015).

       Martin responds to these representations with a conclusory statement that it

would be “impossible for this lot to qualify for any such division as a rear lot subdivision

. . . .” Pl.’s Resp. to Defs.’ Mot. to Dismiss Am. Compl. and Request for Oral Arg. (“Pl.’s

Resp.”) (Doc. No. 30) at 4-5. Without some factual basis to substantiate this, Martin’s

own interpretation of the regulation is not sufficient to plausibly ripen his claims. The

relevant decision-maker, Glidden, has indicated that an application for a rear lot

exception would be a worthwhile pursuit for Martin. Aff. of Glidden at ¶ 7.

       These facts demonstrate that Martin has not yet received a final decision as to

what the permitted uses of the Property are. Martin has only applied for, and the ZBA

has only denied, a single variance. The communications from Glidden indicate that he

is open to exploring the possibility of a rear lot exception, if Martin would submit the

application for it. See Aff. of Michael Glidden at ¶ 7. Indeed the Zoning Regulations of

the Town of Simsbury expressly allow for rear lot development with no street frontage at



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all. Zoning Regulations of the Town of Simsbury, C.8 (Dec. 30, 2016). The claim is

therefore not ripe because of the possibility that “some development will be permitted,”

despite the fact that a single variance has been applied for and denied. See

MacDonald, Sommer & Frates v. Cty. of Yolo, 477 U.S. 340, 351-52 (1986) (rejecting a

claim as unripe because the decisions that had been rendered by the local governing

body did not foreclose the possibility that some development of the land would be

permitted). Because Martin has not demonstrated by a preponderance of the evidence

that the ZBA would deny approval for all uses such that there no longer existed the

possibility that some development would be permitted, Martin’s federal claims—Counts

One, Two, and Three—are not ripe for review. See Southview Assocs., Ltd. v.

Bongartz, 980 F.2d 84, 98 (2d Cir. 1992) (collecting Supreme Court decisions clarifying

the final decision requirement).

       Martin has also not shown that any further application would be futile. “[I]t is well

established that the submissions of a pro se litigant must be construed liberally and

interpreted to raise the strongest arguments they suggest.” Triestman v. Fed. Bureau of

Prisons, 470 F.3d 471, 474 (2d Cir. 2006). By reference to Sherman v. Town of

Chester, 752 F.3d 554 (2d Cir. 2014), Martin appears to advance the argument that,

based on his prior interactions with the town zoning authorities, further applications

would be futile. Pl.’s Resp. at 6. Based on the record before the court, the court does

not agree.

       As described above, the assistant town planner explicitly told Martin that a

possible solution to his zoning problems existed in the rear lot regulations. Aff. of

Glidden at ¶ 7. Indeed, Glidden explained this precise idea to Martin in a letter dated



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March 4, 2015. Ex. D to Aff. of Glidden. Although it is by no means assured that Martin

will be successful in his pursuit of a special exception for a rear lot division, Glidden’s

letter certainly does not suggest that an application for such an exception would be

futile. Sherman, which Martin cites for the proposition that the court should consider the

merits of his case because the zoning board has effected a non-categorical taking, is

readily distinguishable. In Sherman, the plaintiff was subjected to decades of regulatory

changes and inquests by the town zoning authority, including a moratorium on

subdivision approvals which was admittedly implemented to specifically stop the

plaintiff’s development, numerous changes to the zoning requirement during the

application process, and monthly lists of demands for new studies. Sherman, 752 F.3d

at 558-560.

       Here, Martin has made a single application to the town planner for a building

permit, and a single application for a variance, both of which were denied. See Am.

Compl. at ¶¶ 36, 47. He was also informed that the zoning authorities believed there

existed a workable solution within the existing zoning regulations. Aff. of Glidden at ¶ 7.

This is markedly different from the extreme circumstances of Sherman, such that the

court concludes that further pursuit of a zoning decision by the local authorities would

not be futile. There is no indication that any of the defendants have been moving the

finish line such that Martin will never be able to obtain a final decision. Cf. Sherman, 752

F.3d at 563 (describing the Town’s tactic of avoiding a final decision by moving the

finish line, driving Sherman to the point of financial exhaustion over the course of ten

years).




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       Indeed, finding that Martin’s claims are unripe comports with the policies

underlying the ripeness test of Williamson County. First, once the zoning authorities

determine whether or not it is possible to build on the Property as a rear lot, the court

will have a complete record from which to analyze Martin’s taking claims. Murphy v.

New Milford Zoning Comm’n, 402 F.3d 342, 348 (2d Cir. 2005). Second, only by

pursuing all available regulatory remedies can the court assess whether there truly has

been a taking. Id. Third, it is also possible that the alternative avenues available to

Martin would result in a use of the Property that leaves him content, such that Martin will

be afforded relief without “entangling the district court in a constitutional dispute.” Id.

Finally, pursuing further local accommodations respects the federal system by not

inserting the federal judiciary in a pending local matter. Id.

       The court concludes that there has been no “final decision” regarding Martin’s

use of the Property, and therefore the court does not have subject matter jurisdiction

over his constitutional claims regarding the same. Williamson Cnty. Reg’l Planning

Comm’n v. Hamilton Bank, 473 U.S. 172, 186-87 (1985); Southview Associates, Ltd. V.

Bongartz, 980 F.2d 84, 96 (1992) (extending Williamson County to Due Process claims

stemming from a regulatory decision regarding land use); Kurtz v. Verizon New York,

Inc., 758 F.3d 506, 514 (2014) (holding that substantive due process claims of arbitrary

and capricious conduct in the takings context require the first prong of Williamson

County to be met). Thus, prong one of Williamson County cannot be met based on the

plausible allegations of facts in the Amended Complaint. Accordingly, Counts One,

Two, and Three are therefore dismissed for lack of subject-matter jurisdiction.




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       B.       Supplemental Jurisdiction over Counts 4, 5, 6, and 7

       Having dismissed all of the federal claims in the Complaint because they are not

yet ripe, the court must next consider whether it should exercise supplemental

jurisdiction over the remaining state law claims for intentional infliction of emotional

distress, negligence, negligent infliction of emotional distress, and inverse

condemnation. See Am. Compl. at ¶¶ 61-84. Section 1367(c)(3) of title 28 of the

United States Code provides that the court may “decline to exercise supplemental

jurisdiction over a [state law] claim” if it “has dismissed all claims over which it has

original jurisdiction.” The Second Circuit has instructed the district courts that, “if a

plaintiff’s federal claims are dismissed before trial, ‘the state law claims should be

dismissed as well.’” Brzak v. United Nations, 597 F.3d 107, 113–14 (2d Cir. 2010)

(quoting Cave v. E. Meadow Union Free Sch. Dist., 514 F.3d 240, 250 (2d Cir. 2008)).

Having determined that the court lacks jurisdiction to decide the federal claims asserted

in the complaint, the court will decline to exercise supplemental jurisdiction over the

state claims.

V.     CONCLUSION

       Defendants’ Motion to Dismiss (Doc. No. 25) is GRANTED. The court has no

jurisdiction to proceed to consider the merits of Martin’s federal claims because they are

not yet ripe. Therefore, Counts 1, 2, and 3, are dismissed. The court declines to

exercise supplemental jurisdiction over Counts 4, 5, 6, and 7, the remaining state law

claims. The Complaint is therefore dismissed in its entirety.




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SO ORDERED.

          Dated at New Haven, Connecticut this 2nd day of May, 2017.




                                               /s/ Janet C. Hall
                                               Janet C. Hall
                                               United States District Judge




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